                       Case 3:17-cv-06557-JSC Document 55 Filed 12/14/18 Page 1 of 1
                                                                                                                                              Clear Form
CAND TDOF (Rev. 07/2013)
                                                         UNITED STATES DISTRICT COURT
                                                        NORTHERN DISTRICT OF CALIFORNIA
                                                             TRANSCRIPT DESIGNATION FORM
            For appeals to the Ninth Circuit United States Court of Appeals; do not use for appeals to the Federal Circuit.
   9th Cir. Court of Appeals Case No:18-17356                                 District Court Case No(s)
                                                                                                          4-17-06557-JSC
   Short Case Title                                                           Notice of Appeal Date & District Court Docket No.
                                                                            12/11/2018                                          54
CIR v. U.S. Dep't of Justice
   Attorney or Pro Se Party Name:                                             Address:1400 65th St., Suite 200 Emeryville, CA
Diana Victoria Baranetsky                                                              94608

   Telephone: (510)         982-2890                                          Email:   vbaranetsky@revealnews.org
INSTRUCTIONS FOR COMPLETING THIS FORM:
For information about designating transcripts for an appeal before the Ninth Circuit Court of Appeals, refer to the Federal Rules of Appellate Procedure,
the Ninth Circuit’s Local Rules and the instructions below. If you have further questions, contact the Court Reporter Supervisor in the court division in
which your case was filed (cand.uscourts.gov/courtreportercontact).
  1.       Designate transcripts. Open and read the Minutes document for each proceeding via the links on the ECF docket. To designate a particular
           proceeding’s transcript as part of the record on appeal, enter in the table below: the hearing date, court reporter's name, hearing type and, if
           you are designating transcripts in multiple case numbers, the case number for this proceeding. One line per proceeding/transcript. If you need
           more space, complete and attach a second copy of this form. If you are not designating transcripts, proceed to item #4.
  2.       Identify transcripts already ordered. REVIEW the ECF docket sheet to determine which, if any, of the transcripts you have designated, are
           already e-filed. In the right column of the table, CHECK “yes” and enter the docket number of each designated, e-filed transcript OR “no” for
           each designated transcript that needs to be ordered. If all transcripts are e-filed, proceed to item #4.
  3.       Order transcripts. For any remaining designated transcripts that have not been e-filed, COMPLETE, separately for each court reporter, a CAND
           435 Transcript Order (CJA counsel should instead complete CJA 24 forms and submit them to the CJA Unit). E-FILE each CAND 435 Transcript
           Order in the U.S. District Court case.
  IMPORTANT: Transcripts are not considered “ordered” until you have (1) EITHER e-filed a CAND 435 Transcript Order for each court reporter OR
  submitted a CJA 24 form to the CJA Unit for each court reporter AND (2) made payment arrangements. Unless payment is by the U.S. government,
  payment arrangements may be deemed made on the date the court reporter receives your deposit check. Therefore, you should contact the court
  reporter immediately upon e-filing your CAND 435 Transcript Order to make payment arrangements. Please allow at least one week for making
  payment arrangements or processing your CJA 24 form to meet your Court of Appeals deadline for ordering transcripts.

  HEARING DATE:                 COURT REPORTER :                    HEARING TYPE:              CASE No.             TRANSCRIPT E-FILED? ECF Dkt #?

 6/28/2018                      Tara Bauer                         SJ Motion               17-06557            ✔   Yes; Dkt #43
                                                                                                                   No; I have ordered or will order it.
                                                                                                                   Yes; Dkt #
                                                                                                                   No; I have ordered or will order it.
                                                                                                                   Yes; Dkt #
                                                                                                                   No; I have ordered or will order it.
                                                                                                                   Yes; Dkt #
                                                                                                                   No; I have ordered or will order it.
                                                                                                                   Yes; Dkt #
                                                                                                                   No; I have ordered or will order it.
                                                                                                                   Yes; Dkt #
                                                                                                                   No; I have ordered or will order it.
If you are submitting multiple pages, please complete the blanks at right: Page ___ of ___.
  4.       Certify and sign. Check ONE of the following and SIGN at the bottom.
            I do not intend to designate any portion of the transcript and will notify all counsel of this intention.
       ✔    All designated transcripts are already e-filed in the U.S. District Court case(s) at the docket numbers indicated above.
            As retained counsel (or litigant proceeding in pro per), I am ordering herewith by e-filing a CAND 435 Transcript Order Form the designated
             transcripts indicated above and I guarantee payment to the court reporter of the cost thereof.
            As appointed or Government counsel, I certify that I have submitted a CJA Form 24 or e-filed a CAND 435 Transcript Order Form and
             that payment arrangements have been made or will be made today authorizing preparation of the transcript at the expense of the United
             States. I agree to recommend payment for work done prior to cancellation of this order.
By signing below, I certify that I will order and make payment arrangements today for all transcripts designated on this form not already e-filed.

                                                                                        s/ Diana Victoria Baranetsky
                                                                                                   Signature of Attorney or Pro Se Party
